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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF WEST VIRGINIA

CHARLESTON
Suite 2400

300 Virginia Street, East
Charleston, WV 25301

P. O. Box 2546
Charleston, WV 25329
304/347-3000

www.wvsd.uscourts. gov

TERESA L. DEPPNER
Reply to: Charleston Clerk Of Court

October 19, 2015

Mr. Stephen Hopkins

#11126-088

Federal Correctional Institution — Fort Dix
P.O. Box 2000

Fort Dix, New Jersey 08640

HUNTINGTON
Room 101

845 Fifth Avenue
Huntington, WV 25701
304/529-5588
BECKLEY

Room 119

110 North Heber Street
Beckley, WV 25801
304/253-7481
BLUEFIELD
Room 2303

601 Federal Street
Bluefield, WV 24701
304/327-9798

Re: United States of America v. Hopkins, et al.; Case No. 2:11-cr-00178-1

Hopkins v. United States of America: Case No. 2:15-cv-10998

Dear Mr. Hopkins:

I am in receipt of your letter dated September 30, 2015, providing your new address and
requesting the status of your letter to Judge Copenhaver and Motion to Vacate, Set Aside or

Correct Sentence filed on July 15, 2015.

We have noted your change of address. Please be advised your June letter is before
Judge Copenhaver. The letter is not noted on the official docket since it was mailed originally to
Judge Copehaver and not to the Clerk. In addition, your Motion to Vacate is still pending before
the Magistrate Judge. The Clerk’s Office cannot predict when either Judge may respond or make

aruling. When a response or an Order is entered, you will be mailed a copy.

As a courtesy, enclosed herewith is a copy of the docket sheet for each case referenced

above.
Sincerely,
Ss fod D. Te pr
TERESA L. DEPPNE
TLD/ts

Enclosures
